                        IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                            Case No. 3:23-cv-00704-RJC-SCR


  PRASSAS CAPITAL, LLC,                           )
                                                  )
                    Plaintiff,                    )
                                                  )
          v.                                      )
                                                  )                     ORDER
  BLUE SPHERE CORPORATION, LEONITE                )
  CAPITAL LLC, BLACKGEN, LLC,                     )
  GENESIS MANAGEMENT A.S.,                        )
  RENEWABLE ASSET MANAGEMENT,                     )
  S.R.O., SHAUL KOPELOWITZ, AVI                   )
  GELLER, and SHLOMI PALAS,                       )
                                                  )
                    Defendants.                   )

       THIS MATTER is before the Court on Defendants Leonite Capital LLC, BlackGen, LLC,

Shaul Kopelowitz, Avi Geller, and Plaintiff Prassas Capital, LLC (collectively, “Movants”)

Motion for Leave to Engage in Court-Enforceable Early Discovery (the “Motion”). (Doc. No. 63).

       Having carefully considered the motion and the record, including the consent of the non-

moving Defendant, Shlomi Palas, the Court will grant the motion.

       IT IS, THEREFORE, ORDERED that “Defendants Leonite Capital LLC, BlackGen,

LLC, Shaul Kopelowitz, Avi Geller, and Plaintiff Prassas Capital, LLC’s Motion for Leave to

Engage in Court-Enforceable Early Discovery” (Doc. 63) is GRANTED as follows:

       (1) Movants are granted leave to engage in early, court-enforceable discovery under Local

          Civil Rule 16.1(f) as between them, but not as to Defendant Shlomi Palas;

       (2) By engaging in early discovery, Leonite Capital LLC, BlackGen, LLC, Shaul

          Kopelowitz, and Avi Geller, do not waive jurisdictional arguments in any potential

          dismissal motions; and




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  (3) If or when Leonite Capital LLC, BlackGen, LLC, Shaul Kopelowitz, and Avi Geller,

     brief their placeholder dismissal motions, they may not use the pendency of those

     motions to ask for a stay of discovery.

  SO ORDERED.
                                      Signed: January 7, 2025




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